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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                         EASTERN DIVISION

UNITED STATES OF AMERICA              )
                                      )
      v.                              )     CASE NO. 3:14-CR-408-WKW
                                      )
WAYNE CLYDE TERRY                     )

                                  ORDER

      On September 18, 2015, the Magistrate Judge filed a Recommendation to

which no timely objections have been filed. (Doc. # 245.) Upon an independent

review of the file and upon consideration of the Recommendation, it is ORDERED

that the Recommendation is ADOPTED.         Accordingly, it is ORDERED that

Defendant’s Renewed Preliminary Motion to Suppress Statement (Doc. # 239) is

DENIED.

      DONE this 7th day of October, 2015.

                                        /s/ W. Keith Watkins
                              CHIEF UNITED STATES DISTRICT JUDGE
